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                             UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA


                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA


                                                )
In re Amie Adelia Vague, et al.                 )      Case No.: 2:22-mc-3977-WKW
                                                )

                                            ORDER

        After careful consideration of the oral and written testimony in this matter, the Panel

TERMINATES this inquiry as to the following attorneys and RELEASES them from any

obligation under the May 10, 2022 and July 8, 2022 Orders:

        −    Amie Adelia Vague                               −   Milo Rohr Inglehart
        −    Adam Menke Katz                                 −   Robby L.R. Saldana
        −    Andrew Daniel Barr                              −   Sruti J. Swaminathan
        −    Chase Strangio                                  −   Valeria Marie Pelet del Toro
        −    Dale Melchert                                   −   Zoe Wynne Helstrom
        −    Elizabeth Fri Reinhardt                         −   Abigail Hoverman Terry
        −    Julie Michelle Veroff                           −   Adam Reinke
        −    Kaitlin Welborn                                 −   Gilbert Oladeinbo
        −    Katelyn Kang                                    −   J. Andrew Pratt
        −    Lisa Nowlin-Sohl                                −   Misty L. Peterson
        −    Malita Vencienzo Picasso

        The inquiry has produced no evidence of intent by the foregoing attorneys to circumvent

the practice of random case assignment in the District Courts for the Northern and Middle Districts

of Alabama. (See Doc. # 1, at 1–2.) To be clear, the Panel continues to confer about the next steps

in this matter.
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Entered this 23rd day of September, 2022.


                                    /s/ W. Keith Watkins
                                    UNITED STATES DISTRICT JUDGE
                                    FOR THE PANEL
